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 5 Attorneys for Plaintiffs
 6
   [ADDITIONAL PARTIES ON SIGNATURE
 7 PAGE]
 8
                                 UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
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12
   DAWN DANGAARD, a/k/a ALANA                      CASE NO. 3:22-cv-01101
13 EVANS; KELLY GILBERT, a/k/a KELLY
   PIERCE; JENNIFER ALLBAUGH, a/k/a                JOINT STIPULATION REGARDING
14 RUBY; and on behalf of themselves and all       SERVICE OF PROCESS, EXTENSION
   others similarly situated,                      OF TIME TO RESPOND TO
15                                                 COMPLAINT, AND PROPOSED
                   Plaintiff,                      BRIEFING SCHEDULE AND HEARING
16                                                 DATE ON CONTEMPLATED MOTIONS
            vs.                                    TO DISMISS
17
   INSTAGRAM, LLC; FACEBOOK
18 OPERATIONS, LLC; FENIX INTERNET
   LLC; FENIX INTERNATIONAL INC.;
19 META PLATFORMS, INC; LEONID
   RADVINSKY; and JOHN DOES 1-10,
20
                   Defendants.
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                                                                           Case No. 3:22-cv-01101
                        JOINT STIPULATION REGARDING SERVICE OF PROCESS AND EXTENSION OF TIME
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 1           The parties submit this stipulation to set a common briefing schedule and hearing date for

 2 all parties on contemplated responsive motions to the operative complaint, while also providing
 3 for acceptance of service by all domestic and foreign parties.
 4           Plaintiffs Dawn Dangaard, Kelly Gilbert, and Jennifer Allbaugh, on the one hand, and

 5 Defendants Fenix Internet LLC, Fenix International Ltd., and Leonid Radvinsky (collectively, the
 6 “OnlyFans Defendants”), and Instagram, LLC, Facebook Operations, LLC, and Meta Platforms,
 7 Inc. (collectively, the “Meta Defendants”) (collectively, Defendants), on the other hand, have
 8 agreed to the following regarding acceptance of service and a proposed schedule for responding to
 9 the operative complaint and setting a hearing date on contemplated motions to dismiss, and
10 respectfully request the Court to adopt the following Stipulation and enter the accompanying
11 proposed order:
12           WHEREAS, the parties agree that, in the interests of judicial economy and orderly

13 management of the action, a schedule should be established with respect to acceptance of service
14 by Defendants and responses to the operative complaint;
15           NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

16 undersigned counsel for the undersigned parties, subject to Court approval, as follows:
17           1.     Foreign entity defendant Fenix International Ltd. agrees to accept service of the

18 operative complaint, which is the First Amended Complaint (Dkt. 4)1, and to waive the formalities
19 of service under Federal Rules of Civil Procedure 4(d) and not assert its rights under the Hague
20 Convention for the purposes of this action only, expressly conditioned upon the terms stated
21 below.
22           2.     Domestic defendants Fenix Internet LLC, Leonid Radvinsky, and the Meta

23 Defendants agree to accept service of the First Amended Complaint and to waive the formalities
24
25
26       1
         As footnote 1 to the First Amended Complaint explains: “This Complaint is being
   resubmitted as an Amended Complaint, with minor revisions, following the Clerk’s rejection
27 notice of the civil cover sheet and to consolidate the parties in one summons and ‘re-file in its
28 entirety.’ This is the only complaint that will be served.”

                                                  1                         Case No. 3:22-cv-01101
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 1 of service under Federal Rules of Civil Procedure for the purposes of this action only, expressly
 2 conditioned upon the terms stated below.
 3          3.      The deadline for all Defendants to file and serve their responses to the First

 4 Amended Complaint is June 30, 2022. (Note, this is a couple of weeks from the date that would
 5 otherwise apply when a foreign defendant waives service under Rule 4(d).)
 6          4.      The deadline for Plaintiffs to respond to any responsive motions filed by any

 7 Defendants will be August 11, 2022.
 8          5.      The deadline for Defendants to reply in support of any responsive motions will be

 9 August 25, 2022.
10          6.      The parties will set a hearing date of September 8, 2022 for any motions responsive

11 to the operative complaint.
12          7.      The Parties note a typographical error in the caption: that although the First

13 Amended Complaint refers to the foreign entity as Fenix International Limited (“Fenix”)
14 (paragraph 11), the caption uses the abbreviation “Inc.” instead of “Ltd.” The parties agree that
15 Plaintiff may file a notice of errata accordingly, and will not argue that the typographical error has
16 any import.
17          8.      This agreement is limited to the above-captioned litigation and should not be

18 construed as an agreement by any Defendant to waive the requirements of Federal Rules of Civil
19 Procedure 4(d) and/or the Hague Service Convention in any other litigation or for any purpose
20 other than accepting service of Plaintiff’s Complaint in this action.
21          9.      Defendants do not waive any other defenses, including without limitation the right

22 to challenge personal or subject matter jurisdiction and venue. Plaintiffs agree that they will not
23 argue that waiver or acceptance of service or negotiation of this Stipulation and Order supports
24 personal jurisdiction over any defendant.
25          10.     The Defendants do not waive the right to assert objections to discovery propounded

26 on them, and expressly preserve the right to oppose, or seek relief in connection with, any
27 discovery requests served on them.
28          WHEREFORE, Plaintiffs and the Defendants respectfully request that the Court enter this

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 1 Stipulation as an Order of the Court.
 2         IT IS SO STIPULATED.

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 1 DATED: April 7, 2022                  MILBERG COLEMAN BRYSON PHILLIPS
                                         GROSSMAN, PLLC
 2
                                         By /s/ David Azar
 3                                          David Azar (Bar No. 218319)
 4                                          dazar@milberg.com
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 5                                          Beverly Hills, CA 90212
                                            Phone: (212) 594-5300
 6                                          Fax: (212) 868-1229
 7                                           Attorneys for Plaintiffs
 8
 9 DATED: April 7, 2022                      QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
10
                                         By /s/ Shon Morgan
11
                                            Shon Morgan (Bar No. 187736)
12                                          shonmorgan@quinnemanuel.com
                                            865 South Figueroa Street, 10th Floor
13                                          Los Angeles, CA 90017-2543
                                            Phone: (213) 443-3000
14                                          Fax: (213) 443-3100
15
                                             Attorneys for the OnlyFan Defendants
16
17 DATED: April 7, 2022                      KIRKLAND AND ELLIS LLP
18
                                   By        /s/ K. Winn Allen
19                                           K. Winn Allen
                                             Winn.allen@kirkland.com
20                                           1301 Pennsylvania Ave., NW
                                             Washington, DC 20004
21                                           Phone: (202) 389-5078
22                                           (pro hac vice pending)

23
                                             Attorneys for the Meta Defendants
24
25
          PURSUANT TO STIPULATION, IT IS SO ORDERED.
26
27               April 8
          Dated: ______________, 2022     ______________________________
                                          HONORABLE William Alsup
28                                        United States District Judge

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 1                                    SIGNATURE ATTESTATION

 2          I, David Azar, attest that all other signatories listed, and on whose behalf the filing is

 3 submitted, concur in the filing’s content and have authorized the e-filing of the foregoing
 4 document.
 5
 6          Dated: April 7, 2022                           MILBERG COLEMAN BRYSON
                                                           PHILLIPS GROSSMAN, PLLC
 7
 8
                                                           By:/s/David Azar
 9                                                         David Azar

10                                                         Attorneys for Plaintiffs
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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on April 7, 2021, the foregoing was electronically filed with the Clerk
 3 of the U.S. District Court, Northern District of California, using the CM/ECF system, which will
 4 send notification of such filing to all parties.
 5
 6                                                        By:/s/ David Azar
                                                          David Azar
 7                                                        dazar@milberg.com
                                                          MILBERG COLEMAN BRYSON PHILLIPS
 8                                                        GROSSMAN, PLLC
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